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                    UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

 DR. THOMAS HUBBARD, PhD,

       Plaintiff,

 v.                                                    Case No. 1:20-cv-767-RP

 SARAH ALLEN BLAKEMORE and
 JOHN DOES 1-10,

       Defendants.



                  PLAINTIFF’S RESPONSE TO DEFENDANT’S
              SUPPLEMENTAL SUMMARY JUDGMENT EVIDENCE

       COMES NOW Dr. Thomas Hubbard, PhD (“Dr. Hubbard” or “Plaintiff”) and files

his Response (“Response”) to Defendant Sarah Allen Blakemore’s (“Blakemore” or

“Defendant”) Supplemental Summary Judgment Evidence [Doc. 30] to her Motion for

Summary Judgment (“MSJ”) [Doc. 8] and would respectfully show as follows:

                                     I.      RESPONSE

       Blakemore’s MSJ is based on the exclusive grounds that the statements in the Flyer

and the Statesman that form the basis of Plaintiff’s claims were statements of opinion and

not of fact. See Doc. 8 at ¶¶ 4-5, 6, 43. For the reasons already briefed in the Response

[Doc. 9], this is not true and the MSJ should be denied. Blakemore’s supplemental

evidence [Doc. 30], a letter from October 2020 (the “Letter”), does nothing to change this

conclusion either on the issue of opinion or on the issue of truth, which is not even raised

in the MSJ.
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       First, the opinion test is whether a statement is conveying actual facts about a person

and “depends on a reasonable person's perception of the entirety of a publication and not

merely on individual statements.”1 The supplemental evidence is a letter that Dr. Hubbard

sent—long after the events in question and after this lawsuit was filed—to a third-party.

The opinion test is whether a statement is conveying actual facts about a person and

“depends on a reasonable person's perception of the entirety of a publication and not merely

on individual statements.”2 Whether Blakemore’s own statements are opinions or fact is

determined by her statements themselves and not on extraneous evidence or Dr. Hubbard’s

statements. In short, a letter from Dr. Hubbard in October 2020 does absolutely nothing to

prove whether Blakemore’s Flyer and statements in November 2019 were statements of

fact or opinion. As such, this does nothing to change the fact that the MSJ should be denied.

       Second, to the extent the Court were to entertain an additional argument—though

it would be inappropriate since the argument was not raised in the MSJ—that the

supplemental evidence proves Blakemore’s statements were substantially true, this would

likewise fail. As a reminder (and as detailed in the MSJ Response [Doc. 9] at pp. 8-10),

the statements/gists from the Flyer and the Statesman were as follows:

       The Flyer makes the following pertinent express factual claims regarding Dr.

Hubbard:

                 •   Dr. Hubbard has, in fact, advocated for the practice of pederasty and

                     pedophilia since he been at the University.




       1
           Turner v. KTRK TV., Inc., 38 S.W.3d 103 (Tex. 2000)).
       2
           Id.



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             •    Dr. Hubbard has written that illicit physical relationships between young

                  boys and men are proper learning experiences in contemporary society in

                  such works as “Boys’ Sexuality and Age of Consent”.

             •    One of Dr. Hubbard’s courses at the University called “Mythology of Rape”

                  was banned after only one semester.

             •    Dr. Hubbard advocates for violent criminal conduct against teenage boys.

             •    Dr. Hubbard has committed misconduct that has been brought to the

                  University’s attention.

         In addition, the following are reasonable impressions and gists from the Flyer that

the reasonable reader would form from reading it through the juxtaposition, context, and

innuendo of the Statements in the Flyer:3

             •    Dr. Hubbard has, in fact, written pieces encouraging adult men to commit

                  violent sexual assaults against teenage boys (including boys who are below

                  the age of consent) that constitute crimes in contemporary society.

             •    Dr. Hubbard has, in fact, written pieces encouraging adult men to engage in

                  physical relationships with teenage boys (including boys who are below the

                  age of consent, Pederasty) and even pre-pubescent children (Pedophilia) in

                  contemporary society.

             •    One of Dr. Hubbard’s courses at the University called “Mythology of Rape”

                  was banned after only one semester because it consisted (at least in part) of


         3
           See Turner, 38 S.W.3d at 115-16 (following Milkovich and holding that a publication may convey
a false and defamatory impression even if each individual statement, standing alone, is literally true if they
are, through juxtaposition and omissions, presented in a misleading way). Notably, in her MSJ, Blakemore
entirely ignores any gists or impressions that Dr. Hubbard alleged were created by the Statements as a whole
(see Doc. 1 at ¶ 19) and instead attempts to dissect every statement complained of in isolation (see generally
MSJ) in contravention of Texas law as enunciated in Turner.



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                    Dr. Hubbard’s advocacy for pederasty, pedophilia, and/or commissions of

                    crimes against boys, which was “misconduct” that was brought to the

                    University’s attention, resulting in the banning of the course.

               •    Because Dr. Hubbard has used his teaching position at the University to

                    “further a community of individuals hoping to prey on underage boys” (an

                    example of which would be the now-banned “Mythology of Rape” course)

                    by advocating for criminal conduct such as violent sexual assault and

                    inappropriate relationships between adults and children in contemporary

                    society, this has jeopardized the safety, health, and welfare of the students

                    at the University.

         In addition, all of these Statements are punctuated by Blakemore’s statement in an

interview with the Statesman during its coverage of the aftermath of Blakemore’s Flyer,

which clearly claims—expressly and impliedly—that Dr. Hubbard’s writings promote

breaking the law.4

         In all defamation cases, courts use the “substantial truth” test to determine whether

a statement was false.5 Under this test, a statement is not considered false unless it would

have a different effect on the mind of the average listener than a true statement would.6




         4
          A defendant can be held liable for the republication of a statement by someone else if a reasonable
person would recognize that the defendant's actions created an unreasonable risk that the defamatory matter
would be communicated to other parties. See Wheeler v. Methodist Hosp., 95 S.W.3d 628, 639–40 (Tex.
App.—Houston [1st Dist.] 2002, no pet.); Stephan v. Baylor Med. Ctr., 20 S.W.3d 880, 889 (Tex. App.—
Dallas 2000, no pet.). Here, Blakemore clearly understood that her Statements given in the interview with
the Statesman would result in written republication to a broad audience, thereby making her liable for libel
from these Statements.
         5
           See Masson v. New Yorker Mag., Inc., 501 U.S. 496, 516–17 (1991); Dallas Morning News, Inc.
v. Hall, 579 S.W.3d 370, 377 (Tex. 2019).
         6
             See Masson, 501 U.S. at 517.


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Substantial truth is evaluated by looking at the gist of the publication.7 If the publication

correctly conveys the gist but is incorrect about some non-essential details, the publication

will be considered substantially true.8 If the publication was correct in the details but got

the gist of the story wrong by omitting material facts or juxtaposing facts in a misleading

way, the publication will be considered false.9

       No reasonable person of even minimal intelligence could review the Letter and

conclude “Eureka – Blakemore was right!” The Letter [Doc. 30] is an attempt by Hubbard

to rectify the same kind of false misinformation spread by Blakemore that Hubbard is a

pedophile. Blakemore’s false claims were apparently repeated by the recipient of the

Letter, Liv Yarrow (“Yarrow”) who had authored a blog about Dr. Hubbard and other men.

In the Letter, Dr. Hubbard takes issue with the fact that Yarrow has accused he and other

men of pedophilia. With respect to accusations lodged at some men for alleged possession

of images, Dr. Hubbard says he “in no way defend[s]” the creation of sharing of child

pornography but adds that he—as a civil libertarian—is concerned about the misuse of

anti-pornography laws to stifle legitimate art or anthropological records. He also refers to

the purported pornographic images allegedly collected by one of the men Yarrow accuses

as a pedophile as “garbage”.

       Hubbard takes issue with whether these men should—as a scientific term of art—

be considered “pedophiles” (e.g., “Not a single one of these men can legitimately be called

a ‘documented pedophile’”). He also vehemently denies the false assertion that he believes

adult-child sex should be decriminalized and reiterates his scholarly positions on revisiting


       7
           See, e.g., Neely v. Wilson, 418 S.W.3d 52, 63-64 (Tex. 2013).
       8
           See Turner, 38 S.W.3d at 115.
       9
           See Neely, 418 S.W.3d at 64.


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the age of consent for boys to be on par with that of most of the rest of the Western World

and his calls for criminal justice reform. However, in the Letter, he does not in any way,

justify, condone, or advocate for the commission of the behaviors these men are accused

of by Yarrow. The Letter does nothing more than take issue with some of Yarrow’s

accusations and conclusions on the topic of pedophilia and her “speculation” as to the

motivations of some of the men discussed. Nothing in the Letter can reasonably be

construed as an admission that Dr. Hubbard is a “advocate” for the commission of

pederasty or pedophilia. The Letter is a red herring and if this is the best evidence

Blakemore has to prove the “substantial truth” of her statements, the defense is completely

frivolous.

                                   II.    CONCLUSION

       Blakemore accused Dr. Hubbard of encouraging and advocating for the

commission of violent sexual assaults, the commissions of criminal activity, as well as the

commission of pedophilia/pederasty, among other things as discussed above. These are

accusations of objectively verifiable fact—not opinion—and the Letter does not alter that

analysis. At most, the Letter demonstrates that Dr. Hubbard has engaged in scholarly

debate about what should be considered pedophilia/pederasty and whether certain laws, as

written, constitute good jurisprudence. The Letter clearly condemns child pornography,

the repeal of age of consent laws, and in no way attempts to justify breaking the existing

laws or encourages child rape. The Letter does not make Dr. Hubbard an “advocate” for

pederasty/pedophilia any more than a criminal defense attorney who calls for criminal

justice reform makes that attorney and “advocate for the commission of violent crime”.

Any reading of the Letter to render Blakemore’s statements “substantially true” would be




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patently unreasonable and ludicrous and the fact that Blakemore has suggested as much

underscores the weakness and frivolity of her defense. The MSJ should be denied in its

entirety.



                                               Respectfully submitted,

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                                               ATTORNEYS FOR PLAINTIFF


                              CERTIFICATE OF SERVICE

        This is to certify that on this the 15th day of April, 2021, a true and correct copy of

the above and foregoing instrument was properly forwarded to all counsel of record via

ECF.

                                       /s/ Joe Sibley________________________
                                       Joe Sibley




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